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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

    In re                                 §                                Chapter 11
                                          §
    HOUSTON REGIONAL SPORTS NETWORK, L.P. §                                Case No. 13-35998
                                          §
               Debtor.                    §


          ORDER GRANTING EMERGENCY MOTION OF PROPONENTS TO SEAL
           PROPONENTS’ BRIEF IN SUPPORT OF PROPONENTS’ VALUATION
                             (Related to Doc. No. ___)

            Upon the Emergency Motion of Proponents to Seal Proponents’ Brief in Support of

Proponents’ Valuation (the “Motion”);1 and due and sufficient notice of the Motion having been

given; and it appearing that no other or further notice need be provided; and upon the record

herein; and after due deliberation and sufficient cause appearing therefor:

            IT IS HEREBY ORDERED:

            1.      The Motion is GRANTED.

            2.      The Proponents are authorized to file the Proponents’ Valuation Brief under seal

pursuant to the Stipulation and Agreed Order Governing the Production and/or Disclosure of

Confidential Plan Documents and Discovery Materials and Authorizing the Filing of Certain

Documents Under Seal (the “Protective Order”) (Doc. No. 492).

            3.      Upon approval of the Comcast Entities pursuant to paragraph 19 of the Protective

Order, the Proponents must promptly file a proposed, redacted version of the Proponents’

Valuation Brief.

            4.      Any copy of the Proponents’ Valuation Brief in the Court’s possession is hereby

sealed.


1
    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.

HRSN_ Motion to Seal Proponents_ Valuation Brief_1059826(1).docx
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SIGNED this ___ day of_________, 2014.
                                                              __________________________________
                                                              THE HONORABLE MARVIN ISGUR
                                                              UNITED STATES BANKRUPTCY JUDGE




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